                Case 3:12-cr-01570-L                    Document 59              Filed 07/25/12               PageID.170              Page 1 of 2


     'AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
              Sheet 1            ' ,       .




                              S:I- 2.5 ?U~f;ED STATES DISTRICT COURT
                                                  'SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                       ".
                        r..xl,;~ v.                                                 (For Offenses Committed On or After November I, 1987)

                      JESUS QUINTANA-LOPEZ (3)                                      Case Number: 12CR1570-L
                                                                                    MICHAEL BERG
                                                                                    Defendant's Attorney
     REGISTRATION NO. 31912298

     D
     THE DEFENDANT:
     ~ pleaded guilty to count(s) TWO (2) OF THE INFORMAnON

     D    was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                        Nature of Offense                                                                               Number(s)
8 USC 1324(a)(1)(A)(i)                BRINGING IN ILLEGAL ALIENS AND AIDING AND ABETTING                                                           2
AND (v)(II)




        The defendant is sentenced as provided in pages 2 through _~2=-_ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
                                                             ------------------------------
  D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is DareD dismissed on the motion of the United States.
 181 Assessment: $1 00 WAIVED


  181 No fine                                       D    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address unti I all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               JULY 23,2012




                                                                                                                                                       12CR1570-L
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AO 245B (CASD) (Rev. \2111) Judgment in a Criminal Case
           Sheet 2 -Imprisonment

                                                                                            Judgment -   Page _ _2_ of        2
DEFENDANT: JESUS QUINTANA-LOPEZ (3)
CASE NUMBER: 12CR1570-L
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         EIGHT (8) MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section \326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.    Dp·m.       on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before -------------------------------------------------------------------------
       o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                 to

 at _________________________ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL

                                                                    By
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                         12CR1570-L
